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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 15

Unique Broadband Systems Ltd., et al.,                Case No. 19-_________ (          )

              Debtors in a Foreign Proceeding.1       Joint Administration Requested


  MOTION OF THE RECEIVER AS AUTHORIZED FOREIGN REPRESENTATIVE
 FOR ENTRY OF AN ORDER (I) SPECIFYING FORM AND MANNER OF SERVICE
 OF THE RECOGNITION HEARING NOTICE UNDER SECTIONS 105(a), 1514 AND
1515 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 9007, (II)
       SCHEDULING HEARING, AND (III) GRANTING RELATED RELIEF

               BDO Canada Limited, solely in its capacity as court-appointed receiver (the

“Receiver”), manager, and authorized foreign representative of Unique Broadband Systems Ltd.

(“UBS”) and UBS-Axcera, Ltd. (“UBS-Axcera,” and, with UBS, the “Debtors”) (collectively,

the “Debtors”), and not in its personal or corporate capacity, hereby moves as follows:

                                     RELIEF REQUESTED

               1.      Pursuant to sections 105(a), 1514 and 1515 of title 11 of the United States

Code (the “Bankruptcy Code”) and Rules 2002 and 9007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the Receiver respectfully requests entry of an order

substantially in the form attached as Exhibit A (the “Proposed Order”):

        a.     approving the form of notice attached to the Proposed Order as Exhibit 1 (the
               “Recognition Hearing Notice”), which is designed to provide parties in interest
               notice of the following:

               i.      the Receiver’s filing of petitions for recognition under chapter 15 of the
                       Bankruptcy Code (the “Petitions”) and certain related papers, including


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        The Debtors and the last four digits of their U.S. Federal Employer Identification Numbers or
        other unique identifier are as follows: Unique Broadband Systems Ltd. (2249) (Ontario
        Corporation No.) and UBS-Axcera, Inc. (3865) (FEIN). The Debtors’ mailing address is 400
        Spinnaker Way, Concord, ON L4K 5Y9, Canada. The Receiver and Foreign Representative is
        BDO Canada Limited, 20 Wellington Street East, Suite 500 Toronto, ON M5E 1C5, Canada.
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                       the Motion of the Receiver as Foreign Representative for Entry of
                       Provisional and Final Orders Granting Recognition of Foreign
                       Proceeding and Certain Related Relief under Sections 105(a), 362, 365,
                       1517, 1519, 1520, and 1521 of the Bankruptcy Code (the “Recognition
                       Motion”);

               ii.     the Court’s entry of a provisional order (the “Provisional Order”) (x)
                       enforcing in the United States, on a provisional basis, the Receivership
                       Order entered on May 28, 2019, by the Superior Court of Justice
                       (Commercial List) in Ontario, Canada (the “Canadian Court”) and (y)
                       granting, on a provisional basis, related relief sought in the Recognition
                       Motion;

               iii.    the deadline to object (the “Recognition Objection Deadline”) to the
                       Petitions and the Court’s entry of an order (the “Final Order”) granting
                       recognition of the Canadian Proceeding (defined below) and granting, on a
                       final basis, the other relief sought in the Recognition Motion, and

               iv.     the date, time and location of the Recognition Hearing (defined below);

       b.      scheduling a hearing (the “Recognition Hearing”) for the Court to consider the
               Petitions, recognition of the Canadian Proceeding (defined below) as a foreign
               main proceeding, or in the alternative, a foreign nonmain proceeding, and the
               other relief sought in the Recognition Motion on a final basis;

       c.      approving the manner of service of the Recognition Hearing Notice;

       d.      approving the manner of service on the Master Service List (as defined below) of
               any papers that the Receiver files and is required to serve in these chapter 15
               cases; and

       e.      granting related relief.

                                 JURISDICTION AND VENUE

               2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012.      Recognition of a foreign proceeding and

other matters under chapter 15 of the Bankruptcy Code are core matters under 28 U.S.C.

§ 157(b)(2)(P).

               3.      The Receiver, solely in its capacity as authorized foreign representative,

and not in its personal or corporate capacity, consents to the entry of final orders or judgments by

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the Court if it is determined that the Court, absent consent of the parties, cannot enter final orders

or judgments consistent with Article III of the United States Constitution.

               4.      Venue in this district is proper under 28 U.S.C. §§ 1410(1) and (3).

                                         BACKGROUND

               5.      On or about May 28, 2019, the Canadian Court entered the Receivership

Order appointing the Receiver as receiver and manager of all assets, undertakings and properties

of the Debtors pursuant to section 101 of Ontario’s Courts of Justice Act, R.S.O. 1990, c. C.43,

as amended and section 243(1) of Canada’s Bankruptcy and Insolvency Act, R.S.C. 1985, c. B-3,

as amended.    The proceeding before the Canadian Court is captioned under Court File No.: CV-

19-620769-00CL (the “Canadian Proceeding”).

               6.      On the date hereof, the Receiver filed petitions under chapter 15 of the

Bankruptcy Code for recognition of the Canadian Proceeding, thereby commencing the Debtors’

chapter 15 cases.

               7.      Additional information concerning the Debtors and the Canadian

Proceeding is found in the contemporaneously filed Declaration of Gary Cerrato in Support of

(I) Chapter 15 Petitions for Recognition of Foreign Proceeding, (II) Motion of the Receiver for

Entry of Provisional and Final Relief in Aid of Foreign Proceeding, and (III) Certain Related

Relief (the “Cerrato Declaration”). The Cerrato Declaration is incorporated herein by reference.




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            PROPOSED NOTICE, OBJECTION PROCEDURES AND HEARING

       A.      Notice Procedures and Master Service List

               8.      The Receiver proposes to serve the Recognition Hearing Notice, along

with the Petitions, the Provisional Order, and the Recognition Motion (including the proposed

Final Order) by mail within three business days of entry of the Proposed Order, or as soon

thereafter as is reasonably practicable, on the following parties or their counsel (if known)

(collectively, the “Notice Parties”): (a) all persons or bodies authorized to administer foreign

proceedings of the Debtors; (b) all entities against whom provisional relief is being sought under

section 1519 of the Bankruptcy Code, including all known creditors and contract-counterparties

of the Debtors in the United States; (c) all parties to litigation pending in the United States to

which any of the Debtors is a party at the time of the filing of the Petitions; (d) the Office of the

United States Trustee for the District of Delaware and; (e) all other parties who have requested

notice in these cases as of the date of such service.

               9.      Additionally, the Receiver proposes that, where it is required to serve

papers it files in these chapter 15 cases in the future, it be permitted to do so by mail on: (i) the

Notice Parties; (ii) any party that has entered an appearance or requested notice in these chapter

15 cases; and (iii) to the extent applicable, any party whose rights are affected by the relief

requested (collectively, the “Master Service List”).

       B.      Objections to Petitions and Recognition Motion

               10.     The Receiver further requests that the Court require that objections or

responses, if any, to the Petitions, recognition of the Canadian Proceeding as a foreign main

proceeding or foreign nonmain proceeding, or to any of the other relief requested in the

Recognition Motion, (i) be in writing, (ii) detail the factual and legal basis for the response or

objection, (iii) comply with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules of

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Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and (iv) be filed with the Office of the Clerk of the Court, 824 N.

Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the following counsel

for the Receiver so as to be received at least seven days prior to the Recognition Hearing: (i)

Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market St., 16th Floor, P.O. Box 1347,

Wilmington, Delaware 19801, Facsimile: (302) 658-3989, Attention: Derek C. Abbott

(dabbott@mnat.com) and Matthew B. Harvey (mharvey@mnat.com); and (ii) Thornton Grout

Finnigan LLP, Suite 3200, Canadian Pacific Tower, 100 Wellington St. West, Toronto (Ontario),

Canada M5K 1K7, Facsimile: (416) 304-1313, Attention: D.J. Miller (djmiller@tgf.ca) and

Rachel Bengino (rbengino@tgf.ca).

         C.    Recognition Hearing

               11.     The Receiver requests that the Recognition Hearing be scheduled during

the week of July 1, 2019, or, if unavailable, then on another date that meets the needs of these

cases.

                                      BASIS FOR RELIEF

               12.     Bankruptcy Rule 2002(q)(1) requires “at least 21 days’ notice by mail of

the hearing” on a petition for recognition of a foreign proceeding to “the debtor, all persons or

bodies authorized to administer foreign proceedings of the debtor, all entities against whom

provisional relief is being sought under § 1519 of the [Bankruptcy] Code, all parties to litigation

pending in the United States in which the debtor is a party at the time of the filing of the petition,

and such other entities as the court may direct.” Fed. R. Bankr. P. 2002(q)(1). The notice also

is required to state whether the petition seeks recognition as a foreign main proceeding or foreign

nonmain proceeding, and include any other document that the court may require. See id.




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              13.     Bankruptcy Rules 2002(m) and 9007 provide that when notice is to be

given under the Bankruptcy Rules, the court may enter orders designating the form and manner

in which such notice shall be given.   Fed. R. Bankr. P. 2002(m) and 9007. Further, section

105(a) of the Bankruptcy Code provides the Court with the power to grant the relief requested

herein by the Receiver. See 11 U.S.C. § 105(a) (stating that a bankruptcy court “may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of the

[Bankruptcy Code]”); see also 11 U.S.C. 103(a) (chapter 1 is applicable in a case under chapter

15).

              14.     The Recognition Hearing Notice and the proposed manner of serving the

Recognition Hearing Notice and related papers should be approved because they meet the

requirements of Bankruptcy Rule 2002(q).       The proposed Notice Parties comprise all of the

parties required to be served under Bankruptcy Rule 2002(q), and the Receiver intends to give

such parties at least 21 days’ notice by mail of the Recognition Hearing as required by the rule.

Additionally, the Recognition Hearing Notice states that the Receiver is seeking recognition of

the Canadian Proceeding as a foreign main proceeding, or, in the alternative, a foreign nonmain

proceeding.   Finally, the Receiver intends to include with the Recognition Hearing Notice

copies of other key documents in these chapter 15 cases, including the Petitions, the Provisional

Order, and the Recognition Motion (including the proposed Final Order).        Accordingly, the

form of Recognition Hearing Notice and the manner and timing of service comply with

Bankruptcy Rule 2002(q) and should be approved.

              15.     Likewise, scheduling the Recognition Hearing during the week of July 1,

2019, is consistent with Bankruptcy Rule 2002(q) because it provides sufficient time for the




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Receiver to complete the mailing described herein and ensures that the Notice Parties will

receive at least 21 days’ notice by mail as required by the rule.

               16.     For similar reasons, approving service by mail on the Master Service List

for future papers filed in these cases is an efficient, effective, and predictable method for

providing notice to such key parties in these cases.    The Master Service List is consistent with

Local Rule 2002-1(b), which requires service of all motion papers “only upon counsel for the

debtor, counsel for the foreign representative, the United States Trustee, counsel for all official

committees, all parties who file a request for service of notices under Fed. R. Bankr. P. 2002(i)

and all parties whose rights are affected by the motion, as applicable.” To the extent such

parties exist or are applicable in these chapter 15 cases, they are included in the Master Service

List.

               17.     For these reasons, the Receiver requests that the relief requested is

appropriate, consistent with applicable Bankruptcy Rules, and should be granted.

WAIVER OF REQUIREMENTS OF SECTION 1514(c) OF THE BANKRUPTCY CODE

               18.     The Receiver respectfully requests that the Court waive, to the extent

applicable, the requirements of section 1514(c) of the Bankruptcy Code, which provides as

follows:

               (c) When a notification of commencement of a case is to be given
               to foreign creditors, such notification shall—
                   (1) indicate the time period for filing proofs of claim and
                   specify the place for filing such proofs of claim;
                   (2) indicate whether secured creditors need to file proofs of
                   claim; and
                   (3) contain any other information required to be included in
                   such notification to creditors under this title and the orders of
                   the court.

11 U.S.C. § 1514(c). Initially, it is not clear that section 1514 of the Bankruptcy Code is

applicable to ancillary cases under chapter 15 of the Bankruptcy Code.           According to the

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leading bankruptcy treatise, Collier on Bankruptcy, section 1514 of the Bankruptcy Code is the

“last in a series of sections dealing with the international aspects of cases under chapters other

than chapter 15.”    8 COLLIER ON BANKRUPTCY ¶ 1514.01 (Alan N. Resnick, et al., 16th ed. rev.

2009) (emphasis added).    Indeed, the requirements for notification set forth in section 1514 are

at odds with the requirements of Bankruptcy Rule 2002(q) which clearly applies to a case under

chapter 15 and with which the Receiver will comply as set forth in this Motion.

               19.     Moreover,    section   1514(c)    applies   only   when    a   “notice   of

commencement” is issued.      Under section 342(a) and Bankruptcy Rule 2002(f), a notice of

commencement issues upon the entry of an order for relief. But there is no “order for relief” in

a chapter 15 case, nor is there a requirement to issue a notice of commencement as in other

chapters under the Bankruptcy Code.      Furthermore, section 342 does not apply in chapter 15

cases.   See 11 U.S.C. § 103(a) (stating that “sections 307, 362(o), 555 through 557, and 559

through 562 apply in a case under chapter 15”).         For these reasons, the Receiver does not

believe that the requirements set forth in section 1514 apply to these cases.          Out of an

abundance of caution, however, the Receiver respectfully requests that, to the extent applicable,

the notice requirements of section 1514 of the Bankruptcy Code be waived in these chapter 15

cases.

               20.     In any event, the Receiver does not currently intend to conduct a claims

process in these chapter 15 cases; therefore, the requirements of section 1514(c) are not

applicable. To the extent there is a claims process established in the Canadian Proceeding, the

Receiver will comply with any relevant orders issued by the Canadian Court with respect to

providing notice of any applicable deadlines or procedures for filing claims.




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                                              NOTICE

               21.     The Receiver requests that the Court grant this Motion without notice.

The Receiver will serve notice of the signed order on the Notice Parties in accordance with the

procedures set forth in this Motion.     In light of the nature of the relief requested, the Receiver

requests that this Court find that no further notice is required.

               WHEREFORE, the Receiver respectfully requests that the Court enter the

Proposed Order substantially in the form attached as Exhibit A, and grant such other and further

relief as the Court deems just and proper.

Dated: June 10, 2019
       Wilmington, Delaware
                                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                              /s/ Paige N. Topper
                                              Derek C. Abbott (No. 3367)
                                              Matthew B. Harvey (No. 5186)
                                              Paige N. Topper (No. 6470)
                                              1201 N. Market St., 16th Floor
                                              Wilmington, DE 19801
                                              Telephone: (302) 658-9200
                                              Facsimile: (302) 658-3989
                                              dabbott@mnat.com
                                              mharvey@mnat.com
                                              ptopper@mnat.com

                                              - and –

                                              THORNTON GROUT FINNIGAN LLP
                                              D.J. Miller
                                              Rachel Bengino
                                              Suite 3200, Canadian Pacific Tower
                                              100 Wellington St. West
                                              Toronto (Ontario), Canada M5K 1K7
                                              Telephone: (416) 304-1616
                                              Facsimile: (416) 304-1313
                                              djmiller@tgf.ca
                                              rbengino@tgf.ca

                                              Counsel for the Receiver as Foreign Representative


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                     Exhibit A

                   Proposed Order
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                    Chapter 15

Unique Broadband Systems Ltd., et al.,                   Case No. 19-_________ (          )

              Debtors in a Foreign Proceeding.1          Joint Administration Requested


       ORDER (I) SPECIFYING FORM AND MANNER OF SERVICE OF THE
    RECOGNITION HEARING NOTICE UNDER SECTIONS 105(a), 1514 AND 1515
     OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 9007,
      (II) SCHEDULING HEARING, AND (III) GRANTING RELATED RELIEF

                Upon the motion (the “Motion”)2 of BDO Canada Limited, solely in its capacity

as court-appointed receiver (the “Receiver”), manager, and authorized foreign representative of

Unique Broadband Systems Ltd. (“UBS”) and UBS-Axcera, Inc. (“UBS-Axcera,” and, with

UBS, the “Debtors”), and not in its personal or corporate capacity, for entry of an order under

sections 105(a), 1514 and 1515 of title 11 of the United States Code (the “Bankruptcy Code”)

and Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), scheduling the Recognition Hearing and specifying the form and manner of service of

the Recognition Hearing Notice, all as more fully described in the Motion; and this Court having

jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware dated as of

February 29, 2012; and consideration of the Motion and the relief requested therein being a core

proceeding under 28 U.S.C. § 157(b)(2)(P); and a hearing having been held to consider the relief



1
        The Debtors and the last four digits of their U.S. Federal Employer Identification Numbers or
        other unique identifier are as follows: Unique Broadband Systems Ltd. (2249) (Ontario
        Corporation No.) and UBS-Axcera, Inc. (3865) (FEIN). The Debtors’ mailing address is 400
        Spinnaker Way, Concord, ON L4K 5Y9, Canada. The Receiver and Foreign Representative is
        BDO Canada Limited, 20 Wellington Street East, Suite 500 Toronto, ON M5E 1C5, Canada.
2
        Capitalized terms not defined in this Order are defined in the Motion.
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requested in the Motion; and upon the Cerrato Declaration filed contemporaneously with the

Motion; and after due deliberation and good and sufficient cause appearing for approval of the

Motion;

IT IS HEREBY ORDERED THAT:

               1.       The relief requested in the Motion is GRANTED as set forth herein.

               2.       The Court will hold a hearing on the relief requested by the Petitions and

the Recognition Motion, including recognition of the Canadian Proceeding as a foreign main

proceeding, or, in the alternative, a foreign nonmain proceeding, on _________________, 2019

at ___________ (prevailing Eastern Time).

               3.       The Recognition Hearing Notice substantially in the form attached hereto

as Exhibit 1 is hereby approved.

               4.       Within three business days of entry of this Order (or as soon thereafter as

is reasonably practicable), the Receiver shall serve or cause to be served on the Notice Parties by

mail copies of the Recognition Hearing Notice, along with copies of the Petitions, Provisional

Order, and Recognition Motion (including the proposed Final Order).

               5.       Service of the Recognition Hearing Notice in accordance with this Order

is approved as adequate and sufficient notice on all interested parties under the Bankruptcy Rules

and the Bankruptcy Code.

               6.       Except as otherwise ordered by the Court, the Receiver shall serve, or

cause to be served, all papers filed by the Receiver in these chapter 15 cases, for which notice or

service is required by Court order, the Bankruptcy Code, or the Bankruptcy Rules, on the Master

Service List by mail.




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               7.     Responses or objections to the Petitions, recognition of the Canadian

Proceeding as a foreign main proceeding or foreign nonmain proceeding, or the Recognition

Motion and the relief requested therein must (i) be in writing, (ii) detail the factual and legal

bases for the response or objection, (iii) comply with the Bankruptcy Code, the Bankruptcy

Rules, and the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware, and (iv) be filed with the Office of the Clerk of

the Court, 824 N. Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the

following counsel for the Receiver so as to be received no later than 4:00 p.m. seven (7) days

prior to the Recognition Hearing: (i) Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market St.,

16th Floor, P.O. Box 1347, Wilmington, Delaware 19801, Facsimile: (302) 658-3989, Attention:

Derek C. Abbott (dabbott@mnat.com) and Matthew B. Harvey (mharvey@mnat.com); and (ii)

Thornton Grout Finnigan LLP, Suite 3200, Canadian Pacific Tower, 100 Wellington St. West,

Toronto (Ontario), Canada M5K 1K7, Facsimile: (416) 304-1313, Attention: D.J. Miller

(djmiller@tgf.ca) and Rachel Bengino (rbengino@tgf.ca).

               8.     All notice requirements specified in section 1514 of the Bankruptcy Code,

except as may be set forth herein, are hereby waived or otherwise deemed inapplicable to these

cases.

               9.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               10.    The Receiver is authorized to take all actions and incur or pay all costs or

expenses necessary to effectuate the relief granted under this Order in accordance with the

Motion.




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               11.     This Court shall retain jurisdiction with respect to any and all matters

relating to the interpretation or implementation of this Order.



Dated: Wilmington, Delaware
       _____________, 2019

                                         _____________________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




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                   EXHIBIT 1

       Notice of Recognition Hearing
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 15

Unique Broadband Systems Ltd., et al.,                Case No. 19-_________ (          )

              Debtors in a Foreign Proceeding.1       Joint Administration Requested


           NOTICE OF (I) FILING OF CHAPTER 15 PETITIONS, (II) ENTRY
          OF PROVISIONAL ORDER, (III) MOTION FOR RECOGNITION OF
             FOREIGN PROCEEDING AND RELATED RELIEF, AND (IV)
                HEARING ON PETITIONS AND RELATED RELIEF

        PLEASE TAKE NOTICE that on [●], 2019, BDO Canada Limited, solely in its
capacity as court-appointed receiver (the “Receiver”), manager, and authorized foreign
representative of Unique Broadband Systems Ltd. (“UBS”) and UBS-Axcera, Inc. (“UBS-
Axcera,” and, with UBS, the “Debtors”), and not in its personal or corporate capacity, and in
connection with the pending proceeding (the “Canadian Proceeding”) under the Courts of Justice
Act and Bankruptcy and Insolvency Act in the Superior Court of Justice (Commercial List) in
Ontario, Canada (the “Canadian Court”), filed (i) petitions (the “Petitions”) for recognition of the
Canadian Proceeding as a foreign main proceeding, or in the alternative, a foreign nonmain
proceeding, of the Debtors in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) under chapter 15 of title 11 of the United States Code (the
“Bankruptcy Code”), and (ii) the Motion of the Receiver as Authorized Foreign Representative
for Entry of Provisional and Final Orders Granting Recognition of Foreign Proceeding and
Certain Related Relief under Sections 105(a), 362, 365, 1517, 1519, 1520 and 1521 of the
Bankruptcy Code (the “Recognition Motion”), seeking recognition of the Canadian Proceeding
as a foreign main proceeding, or in the alternative, a foreign nonmain proceeding under section
1517 of the Bankruptcy Code and related relief. Copies of the Petitions are attached hereto as
Exhibits 1A and 1B. A copy of the Recognition Motion is attached hereto as Exhibit 2.

        PLEASE TAKE FURTHER NOTICE that on ________________, 2019, the
Bankruptcy Court entered an order granting provisional and injunctive relief, and related relief
[D.I. ●] pursuant to, among other authority, sections 105(a) and 1519 of the Bankruptcy Code
(the “Provisional Order”) with respect to the Debtors, their assets, and their contracts in the
United States. The Provisional Order, among other relief, enjoins actions in the United States
in contravention of the orders of the Canadian Court in the Canadian Proceeding from the entry
of such Provisional Order through and including the date of the Recognition Hearing (as defined


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        The Debtors and the last four digits of their U.S. Federal Employer Identification Numbers or
        other unique identifier are as follows: Unique Broadband Systems Ltd. (2249) (Ontario
        Corporation No.) and UBS-Axcera, Inc. (3865) (FEIN). The Debtors’ mailing address is 400
        Spinnaker Way, Concord, ON L4K 5Y9, Canada. The Receiver and Foreign Representative is
        BDO Canada Limited, 20 Wellington Street East, Suite 500 Toronto, ON M5E 1C5, Canada.
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below), enjoins certain creditor action with respect to the Debtors and their assets in the United
States, and enjoins contract counterparties from terminating contracts with the Debtors, all as set
forth in detail in the Provisional Order. A copy of the Provisional Order is attached hereto as
Exhibit 3.

        PLEASE TAKE FURTHER NOTICE that a hearing has been scheduled for July ,
2019, at                    (prevailing Eastern Time), to consider the Petitions and the relief
requested by the Receiver in the Recognition Motion on a final basis (the “Recognition
Hearing”), including recognition of the Canadian Proceeding as a foreign main proceeding, or in
the alternative, a foreign nonmain proceeding, under chapter 15 of the Bankruptcy Code and
giving full force and effect to orders entered in the Canadian Proceeding, and related relief and
any objections or responses thereto.

        PLEASE TAKE FURTHER NOTICE that responses or objections to the Petitions,
recognition of the Canadian Proceeding as a foreign main proceeding or foreign nonmain
proceeding, or the Recognition Motion and the relief requested therein must (i) be in writing, (ii)
detail the factual and legal bases for the response or objection, (iii) comply with the Bankruptcy
Code, the Bankruptcy Rules, and the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware, and (iv) be filed with the Office of
the Clerk of the Court, 824 N. Market Street, Third Floor, Wilmington, Delaware 19801, and
served upon the following counsel for the Receiver so as to be received by June          , 2019 at
4:00 p.m. (prevailing Eastern Time): (i) Morris, Nichols, Arsht & Tunnell LLP, 1201 N.
Market St., 16th Floor, P.O. Box 1347, Wilmington, Delaware 19801, Facsimile: (302) 658-
3989, Attention: Derek C. Abbott (dabbott@mnat.com) and Matthew B. Harvey
(mharvey@mnat.com); and (ii) Thornton Grout Finnigan LLP, Suite 3200, Canadian Pacific
Tower, 100 Wellington St. West, Toronto (Ontario), Canada M5K 1K7, Facsimile: (416) 304-
1313, Attention: D.J. Miller (djmiller@tgf.ca) and Rachel Bengino (rbengino@tgf.ca).

        PLEASE TAKE FURTHER NOTICE that all parties wishing to appear at the
Recognition Hearing by telephone must, in accordance with the Instructions for Telephonic
Appearances Effective April 5, 2005, revised May 11, 2018, contact CourtCall via telephone (for
callers calling from within the United States of America: 866-582-6878; for callers calling from
outside of the United States of America: 310-743-1886) or facsimile (for parties sending
facsimiles from within the United States of America: 866-533-2946; for parties sending
facsimiles from outside of the United States of America: 310-743-1850) by no later than noon
(prevailing Eastern Time) one business day prior to the Recognition Hearing to register
their telephonic appearances. At the same time, you must notify the counsel listed above of
your intent to appear by telephone at the Recognition Hearing.

        PLEASE TAKE FURTHER NOTICE that if no objection or response is timely filed
and served as provided above, the Bankruptcy Court may grant the relief requested in the
Petitions and the Recognition Motion without further notice or hearing.

       PLEASE TAKE FURTHER NOTICE that the Recognition Hearing may be adjourned
from time to time without further notice other than an announcement in open court at the
Recognition Hearing of the adjourned date or dates of the hearing.



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        Copies of the Petitions, Recognition Motion and other filings in these cases are presently
available on the Bankruptcy Court’s Electronic Case Filing System, which can be accessed from
the Bankruptcy Court’s website at https://ecf.deb.uscourts.gov (a PACER login and a password
are required to retrieve a document).



Dated:   June 10, 2019
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              Exhibit 1A and 1B

    Chapter 15 Petitions for Recognition

  [Intentionally omitted from filed version;
          to be included in mailing]
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                    Exhibit 2

             Recognition Motion

  [Intentionally omitted from filed version;
          to be included in mailing]
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                    Exhibit 3

               Provisional Order

  [Intentionally omitted from filed version;
          to be included in mailing]
